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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION


JAMIE KAUFMANN WOODS; SHARI                        )
LUEKEN, a minor, by and through her                )
next friends, RALPH LUEKEN and                     )
MARILYN LUEKEN; RALPH LUEKEN;                      )
MARILYN LUEKEN; ERIKA TEASLEY,                     )
a minor, by and through her next friends,          )
PAUL DOUGLAS (“DOUG”) HOOVER JR.,                  )
and KATRINA L. HOOVER; PAUL                        )
DOUGLAS (“DOUG”) HOOVER JR.;                       )
KATRINA HOOVER; TRACEY BRAZIL                      )
OZUNA, and JESSICA DEBOI,                          )
                                                   )
           Plaintiffs,                             )
                                                   )
    v.                                             )           No. 1:03-CV-105 CAS
                                                   )
BOB WILLS, a/k/a BOBBY RAY WILLS,                  )
a/k/a W. B. WILLS; BETTY SUE WILLS;                )
SAM GERHARDT, a/k/a S. L. GERHARDT;                )
DEBORAH GERHARDT, a/k/a DEBBIE                     )
GERHARDT; JULIE GERHARDT;                          )
SHARON GOODMAN; and ANDREA HILL                    )
d/b/a MOUNTAIN PARK BOARDING                       )
ACADEMY,                                           )
                                                   )
           Defendants.                             )

                                    AMENDED JUDGMENT

         This matter came on for trial before a jury, the undersigned United States District Judge

presiding. Following presentation of all of plaintiffs’ evidence on the issues raised in the Complaint,

the Court granted in part and denied in part the defendants’ motion for judgment as a matter of law

pursuant to Rule 50(a), Federal Rules of Civil Procedure, as set forth in the Partial Judgment as a

Matter of Law filed separately herein.
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        On the remaining claims, the jury rendered its verdicts on December 15, 2005, as follows:

(1) in favor of defendant Deborah Gerhardt on plaintiff Erika Teasley’s negligence claim; (2) in favor

of defendants Betty Wills and Deborah Gerhardt on plaintiff Tracey Brazil Ozuna’s negligence claims;

(3) in favor of defendant Deborah Gerhardt on plaintiff Tracey Brazil Ozuna’s battery claim; (4) in

favor of defendant Andrea Hill on plaintiff Jamie Kaufmann Woods’ battery claim; (5) in favor of

defendant Betty Wills on plaintiff Jamie Kaufmann Woods’ negligence claim; and (6) in favor of

plaintiff Jamie Kaufmann Woods on her battery claim against defendant Betty Wills, but finding that

plaintiff Woods’ damages were zero dollars ($0.00).

        With respect to plaintiff Woods’ battery claim against defendant Wills, the jury’s

determination of no damages requires that the Court enter judgment as a matter of law in favor of

defendant Wills, where plaintiffs did not submit a nominal damage instruction and did not object to

the jury’s verdict before the jury was discharged. See Blue v. Harrah’s North Kansas City, LLC, 170

S.W.3d 466, 476 (Mo. Ct. App. 2005); Jacobs v. Bonser, 46 S.W.3d 41, 46-47, 48 (Mo. Ct. App.

2001). In the federal courts, “The mere fact that the jury returned a verdict for a plaintiff but assessed

the damages as ‘none’ does not make such a verdict invalid or ambiguous nor does it necessitate a

new trial.” Spears v. Hough, 458 F.2d 529, 531 (8th Cir.) (cited cases omitted), cert. denied, 409

U.S. 878 (1972); see Dairy Farmers of America, Inc. v. Travelers Ins. Co., 391 F.3d 936, 945 (8th

Cir. 2004) (citing Spears).

        Accordingly,

        IT IS HEREBY ORDERED, ADJUDGED and DECREED that judgment is entered in

favor of defendant Deborah Gerhardt on plaintiff Erika Teasley’s negligence claim concerning failure

to obtain dental treatment for her toothache, and this claim is DISMISSED on the merits.


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       IT IS FURTHER ORDERED, ADJUDGED and DECREED that judgment is entered in

favor of defendants Betty Wills and Deborah Gerhardt on plaintiff Tracey Brazil Ozuna’s negligence

claims concerning failure to obtain medical treatment for her asthma, and these claims are

DISMISSED on the merits.

       IT IS FURTHER ORDERED, ADJUDGED and DECREED that judgment is entered in

favor of defendant Deborah Gerhardt on plaintiff Tracey Brazil Ozuna’s battery claim, and this claim

is DISMISSED on the merits.

       IT IS FURTHER ORDERED, ADJUDGED and DECREED that judgment is entered in

favor of defendant Andrea Hill on plaintiff Jamie Kaufmann Woods’ battery claim, and this claim is

DISMISSED on the merits.

       IT IS FURTHER ORDERED, ADJUDGED and DECREED that judgment is entered in

favor of defendant Betty Wills on plaintiff Jamie Kaufmann Woods’ negligence claim concerning

treatment for plaintiff’s hearing condition, and this claim is DISMISSED on the merits.

       IT IS FURTHER ORDERED, ADJUDGED and DECREED that judgment is entered as

a matter of law in favor of defendant Betty Wills on plaintiff Jamie Kaufmann Woods’ battery claim,

and this claim is DISMISSED on the merits.

       Costs are assessed against the plaintiffs, jointly and severally.




                                                   CHARLES A. SHAW
                                                   UNITED STATES DISTRICT JUDGE


Dated this 2nd day of March, 2006.

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